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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                     )
K.O., agent of by and through their parents and      )
next friends, E.O. and L.J; E.O., Jr., agent of by   )
and through their parents and next friends, E.O.     )
and L.J.; E.O.; L.J.; C.J. agent of by and through   )
his father and next friend F.C.; and F.C.,           )
                                                     )             C.A. No. 20-12015-TSH
       Plaintiffs,                                   )
                                                     )
       v.                                            )
                                                     )
UNITED STATES OF AMERICA,                            )
                                                     )
       Defendant.                                    )
                                                     )

           DEFENDANT’S ASSENTED-TO MOTION FOR A FURTHER
      EXTENSION OF TIME TO RESPOND TO THE PLAINTIFFS’ COMPLAINT

       Defendant United States of America, by and through its attorney, Rachael S. Rollins,

United States Attorney for the District of Massachusetts, respectfully moves this Court, through

this assented-to motion for a further extension of time to February 28, 2022 to respond to the

complaint. As grounds for this assented to motion counsel for Defendant states that additional

time is needed for the new United States Attorney in Massachusetts to be briefed on this case.

       WHEREFORE, the parties jointly move this Honorable Court for an extension of time to

February 28, 2022 to respond to the complaint.




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                                                       Respectfully submitted,

                                                       RACHAEL S. ROLLINS
                                                       United States Attorney

                                              By:      /s/ Rayford A. Farquhar
                                                       RAYFORD A. FARQUHAR
                                                       Assistant United States Attorney
                                                       United States Attorney’s Office
                                                       John Joseph Moakley U.S. Courthouse
                                                       One Courthouse Way - Suite 9200
                                                       Boston, MA 02210
                                                       (617) 748-3100
                                                       rayford.farquhar@usdoj.gov


                                CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent electronically
to the registered participants as identified on the Notice of Electronic Filing (NEF).

                                                       /s/ Rayford A. Farquhar
                                                       RAYFORD A. FARQUHAR
Dated: January 25, 2022                                Assistant United States Attorney


                            LOCAL RULE 7.1 CERTIFICATION

         I, Rayford A. Farquhar, Assistant United States Attorney herein certify that on Friday
January 21, 2022, I electronically communicated with Attorney Joseph Cacace, and he assented to
the filing of this motion.

                                                    /s/ Rayford A. Farquhar
                                                    RAYFORD A. FARQUHAR
                                                    Assistant United States Attorney




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